Defendant Shankey, aided by defendant Patek as his attorney, recovered a judgment against plaintiff herein. A dispute arose between defendants as to the amount due as attorney's fees and charges. The attorney claimed a charging lien on the judgment. Plaintiff filed a bill of interpleader. The issue between the defendants is purely one of fact. There is a conflict in direct testimony without other evidence or circumstances worthy of note. One defendant testified that the attorney was to have one sum. The other defendant testified of another sum. Each was supported by corroborating testimony. The trial judge who heard the witnesses and saw them on the stand found and decreed in favor of defendant Patek. Defendant Shankey has appealed.
After a careful reading of the record, we must decline to disturb the decree made. It is affirmed, with costs to defendant Patek against the other defendant.
McDONALD, BIRD, SHARPE, MOORE, STEERE, FELLOWS, and WIEST, JJ., concurred. *Page 49 